                       IN TIIB UNITED STATES DISTRICT COURT
                   FOR TIIB EASTERN DISTRICT OF NORTII CAROLINA
                                  EASTERN DMSION
                                   No. 4:18-CV-72-D


HOWARD DUDLEY,                          )
                                        )
                      Plaintiff,        )
                                        )
              v.                        )                   ORDER
                                        )
                                        )
CITY OF KINSTON, and                    )
ANTHONY GREENE,                         )
                                        )
                    Defendants.         )


       On September 18, 2020, Magistrate Judge Numbers denied Josiah J. Corrigan's motion to

quash a subpoena for documents. See [D.E. 108] 2-3. Production was due on October 2, 2020. See

id. at 3. On September 20, 2020, Corrigan filed a conclusory objection to Judge Numbers's order.

See [D.E. 113]. Corrigan did not, however, seek to stay Judge Numbers's order. On October 13,

2020, defendants moved to compel compliance [D.E. 130].

       The court has reviewed the entire record. The court OVERRULES as baseless Corrigan's

objection [D.E.113] and AFFIRMS the order of Judge Numbers. Corrigan SHALL comply with

Judge Numbers's order and this order not later than October 20, 2020, including ifhe wishes, the

production of a privilege log. Cf. [D.E. 108] 3. The court expresses no view on whether any

privilege claim is timely or valid. See id. at 3 n.1. The court GRANTS plaintiff's motion to

intervene [D.E. 131], but DENIES as untimely and meritless plaintiff's motion to stay or for a

protective order [D.E.131]. Defendants' motion to compel compliance [D.E.130] is GRANTED,

and Corrigan's production is due no later than October 20, 2020.




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SO ORDERED. This   t~   day of October 2020.




                                               1:tlms~~m
                                               United States District Judge




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